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   10
                            UNITED STATES DISTRICT COURT
   11
                          CENTRAL DISTRICT OF CALIFORNIA
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   13
      In re: KIA HYUNDAI VEHICLE                 CASE No. 8:22-ml-03052-JVS-KES
   14 THEFT MARKETING, SALES
      PRACTICES, AND PRODUCTS                    DEFENDANTS’ NON-OPPOSITION
   15 LIABILITY LITIGATION                       TO CONSUMER CLASS
                                                 PLAINTIFFS’ MOTION FOR
   16                                            FINAL SETTLEMENT APPROVAL
                                                 (DKT. 376)
   17
                                                 Date: July 15, 2024
   18                                            Time: 1:30 p.m.
                                                 The Hon. James V. Selna
   19 This document relates to:                  Courtroom: 10C
   20 CONSUMER CLASS ACTION
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                             DEFENDANTS’ NON-OPPOSITION TO FINAL APPROVAL MOTION DKT. 376)
Case 8:22-ml-03052-JVS-KES Document 467 Filed 06/17/24 Page 2 of 3 Page ID #:15893




    1        Defendants Kia America, Inc., Kia Corporation, Hyundai Motor America, and
    2 Hyundai Motor Company do not oppose plaintiffs’ motion for final approval of the
    3 class action settlement (Dkt. 376).
    4        Without necessarily adopting plaintiffs’ characterization of the underlying
    5 facts, the strength of their claims, or their estimated value of the settlement,
    6 defendants agree the settlement presented for final approval was reached through
    7 good-faith and rigorous negotiations (see id. at 5–6) and provides class members with
    8 valuable remedial options (see id. at 8). Accordingly, defendants support plaintiffs’
    9 motion for final approval of the settlement.
   10
   11 DATED: June 17, 2024                  QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
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   14                                        By         /s/ Shon Morgan
   15                                             Shon Morgan
   16                                             Attorneys for Kia America, Inc., Kia
                                                  Corporation, Hyundai Motor America, and
   17                                             Hyundai Motor Company
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                 DEFENDANTS’ STATEMENT OF NON-OPPOSITION TO FINAL APPROVAL MOTION (Dkt. 376)
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    1                       L.R. 11-6.2. Certificate of Compliance
    2        The undersigned, counsel of record for defendants, certifies that this brief
    3 contains 92 words, which complies with the word limit of L.R. 11-6.1.
    4
    5 DATED: June 17, 2024                  QUINN EMANUEL URQUHART &
                                            SULLIVAN, LLP
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    8                                        By        /s/ Shon Morgan
    9                                             Shon Morgan
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                                                  Attorneys for Kia America, Inc., Kia
   11                                             Corporation, Hyundai Motor America, and
   12                                             Hyundai Motor Company

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                 DEFENDANTS’ STATEMENT OF NON-OPPOSITION TO FINAL APPROVAL MOTION (Dkt. 376)
